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FILED

IN THE UNITED STATES DISTRICT COURT

 

FOR THE DISTRICT OF COLUMBIA
SEP 2 8 2001
WHITTINGTON, CLERK

) MANY DISTRICT COURT
MARTHA WRIGHT et al., )
)
Plaintiffs, )

) Civil Action No.:
V. ) 1:00CV00293 (GK)

)
CORRECTIONS CORPORATION OF )
AMERICA et al, )
)
Defendants )
)

 

PLAINTIFFS' REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION TO
RECONSIDER AND TO DEFENDANTS?’ PIONEER AND GLOBAL’S RENWAL OF
THEIR MOTIONS TO DISMISS

Plaintiffs have moved this Court to reconsider its decision of August 22, 2001 to dismiss
without prejudice and to stay the proceeding rather than dismiss as they will be prejudiced by the
Statute of Limitations while the matter is pending in the Federal Communications Commission
(FCC). In further support of that motion plaintiffs state:

1. It has been clear in this circuit since 1981 that an involuntary dismissal without
prejudice does not toll the statute of limitations and that the statute of limitations is not tolled
during the dependency of the dismissed case. Dupree v. Jefferson , 666 F.2d 606 (D.C. Cir.
1981) Without a stay, the statute of limitations will run on plaintiffs’ claims for damages
causing them prejudice. Defendants’ arguments do not negate this very basic fact nor do they
deny this basic fact. Nor, as Defendants know, are Plaintiffs precluded from asking for a stay

upon reconsideration because it was not raised in their opposition to the Motions to Dismiss.

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2. Plaintiffs filed claims for damages for violations of their constitutional rights, the
Sherman Act, the Communications Act, and various claims under the laws of the District of
Columbia. Defendants want to pretend this case is merely a rates case and claim that there is no
issue regarding prospective relief. The statute relied upon by the Defendants does not clearly
state that it tolls an action under the Communications Act. Even if true, the statute of limitations
will likely run on the remaining claims, therefore, causing prejudice to the plaintiffs and the
plaintiff class.

3. Defendants misstate the status of class certification in this matter. The complaint
alleges that the class meets both Rule 23 (b) (2) and (b) (3) class qualifications. Defendants
insisted that Plaintiffs not take discovery on class certification until after the Motions to Dismiss
were decided. No motion for certification has been filed, nor have the Defendants allowed
Plaintiffs to begin to define the shape and size of the class. They cannot now complain that there
is no evidence regarding the class before the Court or that the selection of class precludes a stay.

4. Defendant Global argues erroneously that Plaintiffs do not dispute that all their claims
come under the jurisdiction of the FCC. Our Memorandum in Opposition clearly argued the
opposite. Both Defendants Global and Pioneer request the Court decide their jurisdictional
motions if a stay is ordered. The admit that they would be part of the FCC proceedings in the
interim and allege no prejudice if the Motions are not decided. These motions should be decided
when the case comes back to the Court after the FCC has finished its proceeding.

For the reasons stated, it is respectfully requested that Plaintiffs’ Motion for

Reconsideration be granted.
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Dated: September 28, 2001

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CERTIFICATE OF SERVICE

I, Marie-Ann Sennett, hereby certify that the Plaintiffs' Reply To Defendants’
Response To Plaintiffs’ Motion To Reconsider And To Defendants’ Pioneer And
Global’s Renewal Of Their Motions To Dismiss and Order, and Notice of Appearance
was mailed on this 28th day of September, 2001 by first Class mail, prepaid upon:

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